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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                     NO. 4:06CR00146-01 JLH

TERRANCE D. OLIVER                                                                    DEFENDANT


                                              ORDER

       The Court conducted a hearing on Thursday, November 20, 2008, to address the pending

motions to revoke probation filed by the government. Assistant United States Attorney Linda Lipe

was present for the government. The defendant appeared in person with his attorney First Assistant

Federal Public Defender Jerome Kearney. U.S. Probation Officer Reginald Hollins was also present.

       The defendant previously admitted allegations regarding his state court charges stemming

from his September 17, 2007 arrest during the hearing of March 5, 2008. The remaining alleged

violations in the petitions have been satisfied or otherwise resolved. Following allocution by the

defendant and argument from counsel, the Court found by a preponderance of the evidence that the

violations at issue did in fact occur. However, for reasons stated on the record, the Court denied the

motions to revoke, and modified defendant’s conditions of probation. Docket #59 and #69.

       IT IS THEREFORE ORDERED that defendant Terrance D. Oliver be released from the

custody of the United States Marshal.

       IT IS FURTHER ORDERED that defendant’s conditions of probation are hereby modified

to include the following:

•      Placement in the City of Faith Residential Reentry facility in Little Rock, Arkansas, for a
       term of six (6) months.
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•     Defendant is directed to self-report to the City of Faith as instructed by the U.S. Probation
      Office.

•     Defendant must participate in parenting classes as directed by the U.S. Probation Office.

     All other conditions of probation remain unchanged and in full force and effect as previously

imposed.

      IT IS SO ORDERED this 20th day of November, 2008.



                                                    _____________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
